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Debtor 1 Timothy Luke George
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Southern District of Texas
Case number LI] Check if this is an
(if known) amended filing
Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income 04/22

 

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
(Official Form 122C—1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is

needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write
your name and case number (if known).

ERE calculate Your Deductions from Your Income

 

The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the questions in
lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This information may also be available
at the bankruptcy clerk’s office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual expenses if
they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form 122C-—1, and do not
deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C-1.

If your expenses differ from month to month, enter the average expense.

Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

5. The number of people used in determining your deductions from income

Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the
number of any additional dependents whom you support. This number may be different from the number of
people in your household.

National
Standards You must use the IRS National Standards to answer the questions in lines 6-7.

6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National $1,610.00
Standards, fill in the dollar amount for food, clothing, and other items. —_

7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in the
dollar amount for out-of-pocket health care. The number of people is split into two categories—people who are under 65 and people
who are 65 or older—because older people have a higher IRS allowance for health care costs. If your actual expenses are higher
than this IRS amount, you may deduct the additional amount on line 22.

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Debtor 1 Timothy Luke George Case number (if known)
First Name Middle Name Last Name

People who are under 65 years of age

7a. Out-of-pocket health care allowance per person $75.00
7b. Number of people who are under 65 Xx 3
Cc
7c. Subtotal. Multiply line 7a by line 7b. $225.00 hom $225.00
People who are 65 years of age or older
7d. Out-of-pocket health care allowance per person $153.00
7e. Number of people who are 65 or older Xx 0
Cc 0.00
7f. Subtotal. Multiply line 7d by line Ze. $0.00 hoe, __ $0.00
7g. Total. Add lines 76 amd 76. ..c.csessesssssssssesssssssscssssesssssssevsssssscsenssssessueessssaesessceeseseseuesesesansceeveneeseaseess $225.00 Copy here —.... $225.00

Local
Standards You must use the IRS Local Standards to answer the questions in lines 8-15.

Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
bankruptcy purposes into two parts:

= Housing and utilities — Insurance and operating expenses

= Housing and utilities — Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

8. Housing and utilities — Insurance and operating expenses: Using the number of people you entered in line 5, fill in $724.00
the dollar amount listed for your county for insurance and operating expenses. TT

9. Housing and utilities — Mortgage or rent expenses:
9a. Using the number of people you entered in line 5, fill in the dollar amount $1,986.00
listed for your county for mortgage or rent expenses. —

9b. Total average monthly payment for all mortgages and other debts secured by
your home.

To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you file for
bankruptcy. Next divide by 60.

 

 

 

Name of the creditor Average monthly
payment
Service Mac $3,508.16
+
Copy $3,508.16 Repeat this amount
9b. Total average monthly payment $3,508.16 here —> - ,08. on line 33a.

9c. Net mortgage or rent expense.
Subtract line 9b (total average monthly payment from line 9a (mortgage or rent expense). If

 

this number is less than $0, enter $0. $0.00 Copy here —..... __ $0.00
10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects $0.00
the calculation of your monthly expenses, fill in any additional amount you claim. TT
Explain
why:

 

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Debtor 1 Timothy Luke George Case number (if known)
First Name Middle Name Last Name

11.

12.

13.

14.

15.

Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
L) 0. Go to line 14.

L) 1. Go to line 12.

wi 2 or more. Go to line 12.

Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating $690.00
expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.

Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each
vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may
not claim the expense for more than two vehicles.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

; 2022 Toyota Rav 4
Vehicle1 —_ Describe Vehicle 1: y
13a. Ownership or leasing costs using IRS Local Standard...........ssssscssscssssccseessseesse $588.00
13b. Average monthly payment for all debts secured by Vehicle 1.
Do not include costs for leased vehicles.
To calculate the average monthly payment here and on line 13e, add all
amounts that are contractually due to each secured creditor in the 60
months after you file for bankruptcy. Then divide by 60.
Name of each creditor for Vehicle 1 Average monthly
payment
Toyota Financial $649.00
+ - $649.00
$649.00 | Copy Repeat this amount
Total average monthly payment Oo here > on line 33b.
13c. Net Vehicle 1 ownership or lease expense $0.00
Subtract line 13b from line 13a. If this number is less than $0, enter $0............. —_—
Copy net Vehicle 1
expense here — $0.00
: Spouse's Vehicle
Vehicle 2 Describe Vehicle 2: P
13d. Ownership or leasing costs using IRS Local Standard............:sscssssesseesnees $588.00
13e. Average monthly payment for all debts secured by Vehicle 2.
Do not include costs for leased vehicles.
Name of each creditor for Vehicle 2 Average monthly
payment
Toyota Financial $924.05
+ - $924.05
$924.05 Copy Repeat this amount
Total average monthly payment —_—_—— here > on line 33c.
13f. Net Vehicle 2 ownership or lease expense $0.00
Subtract line 13e from 13d. If this number is less than $0, enter $0............. eT
Copy net Vehicle 2 $0.00

expense here —

Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
Transportation expense allowance regardless of whether you use public transportation.

Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also deduct a
public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim more than the $0.00
IRS Local Standard for Public Transportation. _

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Debtor 1 Timothy Luke George Case number (if known)
First Name Middle Name Last Name
Other Necessary In addition to the expense deductions listed above, you are allowed your monthly expenses for the
Expenses following IRS categories.

16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-employment taxes,
social security taxes, and Medicare taxes. You may include the monthly amount withheld from your pay for these taxes. However, if
you expect to receive a tax refund, you must divide the expected refund by 12 and subtract that number from the total monthly amount
that is withheld to pay for taxes.

Do not include real estate, sales, or use taxes.

17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions, union dues, and
uniform costs.
Do not include amounts that are not required by your job, such as voluntary 401 (k) contributions or payroll savings.

18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing together,
include payments that you make for your spouse’s term life insurance.
Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance
other than term.

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative agency, such as
spousal or child support payments.
Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

20. Education: The total monthly amount that you pay for education that is either required:
= as a condition for your job, or
= for your physically or mentally challenged dependent child if no public education is available for similar services.

21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
Do not include payments for any elementary or secondary schoo! education.

22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is required for the
health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health savings account. Include
only the amount that is more than the total entered in line 7.
Payments for health insurance or health savings accounts should be listed only in line 25.

23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for you and your
dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone service, to the extent
necessary for your health and welfare or that of your dependents or for the production of income, if it is not reimbursed by your
employer.

Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment expenses, such as
those reported on line 5 of Form 122C-1, or any amount you previously deducted.

24. Add all of the expenses allowed under the IRS expense allowances.
Add lines 6 through 23.

Additional Expense These are additional deductions allowed by the Means Test.
Deductions Note: Do not include any expense allowances listed in lines 6-24.

25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health insurance, disability
insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your dependents.

Health insurance $56.52
Disability insurance $0.00
Health savings account + $0.00
Total $56.52 Copy total here —

 

Do you actually spend this total amount?

LJ No. How much do you actually spend?

Wives

26. Continuing contributions to the care of household or family members.
The actual monthly expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
ill, or disabled member of your household or member of your immediate family who is unable to pay for such expenses. These
expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of you and your
family under the Family Violence Prevention and Services Act or other federal laws that apply.
By law, the court must keep the nature of these expenses confidential.

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income

$1,568.97

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

$4,817.97

$56.52

$0.00

$0.00

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Debtor 1 Timothy Luke George Case number (if known)
First Name Middle Name Last Name
28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.

29.

30.

31.

32.

If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8, then fill in
the excess amount of home energy costs

You must give your case trustee documentation of your actual expenses, and you must show that the additional amount claimed is
reasonable and necessary.

Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $189.58* per child)
that you pay for your dependent children who are younger than 18 years old to attend a private or public elementary or secondary
school.

You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
reasonable and necessary and not already accounted for in lines 6-23.

* Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.

Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher than the

combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the food and clothing

allowances in the IRS National Standards.

To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for this form.

This chart may also be available at the bankruptcy clerk's office.
You must show that the additional amount claimed is reasonable and necessary.

Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial instruments toa +

religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).
Do not include any amount more than 15% of your gross monthly income.

Add all of the additional expense deductions.
Add lines 25 through 31.

Deductions for Debt Payment

33.

For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans, and
other secured debt, fill in lines 33a through 33e.

To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
the 60 months after you file for bankruptcy. Then divide by 60.

 

 

 

Average monthly
payment
Mortgages on your home
J
33a. Copy line Ob Were ..........eececceccssceeeesseeseesseeseesaceseecaaeeeesseseeeeessaeseneseeeeeseeseeeseeseeesaneas => __ $3,508.16
Loans on your first two vehicles
49.
33b. Copy line 13b here ...........ececceccssccesessceeeesseeseesaceseesaaeeeeseesaeeseesaessessaeeeeesaesenesseeseesaess — __ $649.00
24,
33c. Copy line 136 here ooo... eesessssenercsseneeeeseneeeesenseesnenseeseeenessseenessneeneessessensaaneeesanas > __ $924.05
33d. List other secured debts:
Name of each creditor for other Identify property that secures the Does payment
secured debt debt include taxes or
insurance?
wi No
Mosaic Solar Panel CI Yes
LJ} No
LJ) Yes
LJ) No
L) Yes .
5,081.21 Copy total
33e. Total average monthly payment. Add lines 33a through 33d. .............:::eccceeeeteeeee __ $5,081.21 hom,

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income

$0.00

$0.00

$0.00

$0.00

 

 

$56.52

 

 

$5,081.21

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Debtor 1 Timothy Luke George Case number (if known)
First Name Middle Name Last Name

34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for your
support or the support of your dependents?

LI No. Go to line 35.

Wives. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

 

 

 

 

 

 

 

 

Name of the creditor Identify property that Total cure Monthly cure
secures the debt amount amount
+60 =
+60=
+60= +
Total $0.00 Copy total $0.00
here — ——____—_
35. Do you owe any priority claims—such as a priority tax, child support, or alimony—that are past due as of the filing date of your
bankruptcy case? 11 U.S.C. § 507.
WA No. Go to line 36.
Ll Yes. Fill in the total amount of alll of these priority claims. Do not include current or ongoing priority claims, such as
those you listed in line 19.
Total amount of all past-due priority ClaiIMS.............c ccc eset esseeeeteneeeseetnensenneeeenees + 60
36. Projected monthly Chapter 13 plan payment $0.00
Current multiplier for your district as stated on the list issued by the Administrative Office of the
United States Courts (for districts in Alabama and North Carolina) or by the Executive Office for
United States Trustees (for all other districts).
To find a list of district multipliers that includes your district, go online using the link specified in
the separate instructions for this form. This list may also be available at the bankruptcy clerk's
office. x 7.50%
$ Copy
0.00 total
Average monthly administrative expense —_—_—_———
here — $0.00
37. Add all of the deductions for debt payment. Add lines 33e through 36. $5,081.21
Total Deductions from Income
38. Add all of the allowed deductions.
Copy line 24, Alf of the expenses allowed under IRS expense allowances ............:c cee $4,817.97
Copy line 32, All of the additional ExPeNSE AEQUCTIONS. ........ccceecsceeecseeeesseeseessenseessensnensensenesennaes $56.52
Copy line 37, Alf of the deductions for debt DayMenit........ccsecccceceee ceeeceeeeeeeeeeeneeeeneneeeenenenneeennnees + $5,081.21
Copy
$9,955.70 _ total $9,955.70
Total CEQUCTIONS. .....2.....eececeeeeeeeeeeeceeeeeeeeeeeeeceeeeeeaeeaeecaeesnaaesaaeeseeeenaesseeeessesesaeeceeseeessaeeseeeeeeetenneess wooo __—sChere > ——

 

 

 

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Debtor 1 Timothy Luke George
First Name Middle Name Last Name

Gara Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

39.

40.

41.

42.

43.

44.

45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.

Case number (if known)

 

Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
Statement of Your Current Monthly Income and Calculation of Commitment Period.

Fill in any reasonably necessary income you receive for support for dependent children.
The monthly average of any child support payments, foster care payments, or disability
payments for a dependent child, reported in Part | of Form 122C-1, that you received in
accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
expended for such child.

Fill in all qualified retirement deductions. The monthly total of all amounts that your
employer withheld from wages as contributions for qualified retirement plans, as specified in
11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
specified in 11 U.S.C. § 362(b)(19).

Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here .... >

Deduction for special circumstances. If special circumstances justify additional expenses
and you have no reasonable alternative, describe the special circumstances and their
expenses. You must give your case trustee a detailed explanation of the special
circumstances and documentation for the expenses.

Describe the special circumstances Amount of expense

 

 

 

Total $0.00 Copy here

Total adjustments. Add lines 40 through 43.......0..0 cece eee sees eceeersesaesseenesneneesesenseneanaes

EER change in Income or Expenses

46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have
changed or are virtually certain to change after the date you filed your bankruptcy petition and during the time your
case will be open, fill in the information below. For example, if the wages reported increased after you filed your
petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the wages increased, fill

in when the increase occurred, and fill in the amount of the increase.

DO) 122c-1

L) 122c-2

$13,053.33

$0.00

$9,955.70

+ $0.00

$9,955.70 Copy here» ~——22:955:70

 

$3,097.63

 

 

 

Form Line Reason for change Date of change _Increase or Amount of change

decrease?

L) Increase

 

OO) 122¢-1

L) 1220-2

Official Form 122C-2

L) Decrease

L} Increase
L) Decrease

 

Chapter 13 Calculation of Your Disposable Income page 7
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Debtor 1 Timothy Luke George Case number (if known)
First Name Middle Name Last Name

Gra Sign Below

By signing here, under penalty of perjury | declare that the information on this statement and in any attachments is true and correct.
Cc e- CF ,
x SMATHY GEORGE

Signature of Debtor 1

 

Date 11/15/2022
MM DD/ YYYY

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income page 8
